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Attorney for Defendant Fitness Member Services LLC
_____________________________________________________________________________
                           UNITED STATES DISTRICT COURT
                       DISTRICT OF UTAH, NORTHERN DIVISION

  MICHAEL ANAKIN DAWSON AND
  MATTHEW MACPHERSON,
  individually and on behalf of all others               JOINT MOTION TO DISMISS
  similarly situated,
                                                        Civil No. 1:17-cv-00133-RJS-EJF
             Plaintiffs,
                                                            Judge Robert J. Shelby
  v.                                                    Magistrate Judge Evelyn J. Furse

  FITNESS MEMBER SERVICES LLC
  dba VASA FITNESS CORPORATE,

            Defendant.


       Plaintiffs Michael Dawson and Matthew McPherson, along with Defendant Fitness

Member Services LLC, hereby jointly motion the Court to dismiss the case with prejudice as to

the named Plaintiffs, but without prejudice as to any other members of the putative class.    A

proposed order is filed herewith.

       DATED this 19th day of September, 2018.

                                                     /s/ Patrick Peluso (with permission)
                                                     Attorney for Plaintiffs Michael Anakin
                                                     Dawson and Matthew MacPherson

                                                     /s/ Eric Allen


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                                                    Attorney for Defendant Fitness Member
                                                    Services LLC



                                   CERTIFICATE OF SERVICE

       I hereby certify that on the 19th day of September, 2018, I caused to be delivered a true

and correct copy of the foregoing STIPULATED MOTION TO DISMISS, along with all

exhibits/attachments, to the parties below.

CM/ECF notice:

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                                                            /s/ Eric Allen

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                                       On behalf of Eric Allen




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